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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF SOUTH CAROLINA

DARLENE GREEN,                                )       Civil Action No. 5:20-cv-03505-KDW
                                              )
                       Plaintiff,             )
                                              )
         v.                                   )
                                              )                 ORDER
KILOLO KIJAKAZI,                              )
Acting Commissioner of                        )
Social Security Administration,               )
                                              )
                       Defendant.             )

       This matter is before the court on Plaintiff’s Motion for Attorney Fees and Expenses under

the Equal Access to Justice Act (“EAJA”), in the amount of Two Thousand, Six Hundred, Eighty-Six

Dollars and 12/100 Cents ($2,686.12), expenses in the amount of Sixteen Dollars and 00/100 Cents

($16.00) under 28 U.S.C. § 2412(d) of the EAJA. ECF No. 26. In the Acting Commissioner’s

Response she indicates she does not object to the requested amount of EAJA attorney fees and

expenses sought, ECF No. 27. Plaintiff’s Motion is granted in accordance with the terms of this order.

       It is hereby ORDERED that Plaintiff, Darlene Green, is awarded attorney fees in the amount

of Two Thousand, Six Hundred, Eighty-Six Dollars and 12/100 Cents ($2,686.12) and expenses in

the amount of Sixteen Dollars and 00/100 Cents ($16.00) under 28 U.S.C. § 2412(d) of the EAJA.

The attorney fees and expenses will be paid directly to Plaintiff, Darlene Green, and sent to the

business address of Plaintiff’s counsel, W. Daniel Mayes. Full or partial remittance of the awarded

attorney fees and expenses will be contingent upon a determination by the Government that Plaintiff

owes no qualifying, pre-existing debt(s) to the Government. If such a debt(s) exists, the Government

will reduce the awarded attorney fees in this Order to the extent necessary to satisfy such debt(s).

       IT IS SO ORDERED.


September 27, 2021                                           Kaymani D. West
Florence, South Carolina                                     United States Magistrate Judge
